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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

        v.
                                                              Case No. 19-cr-10080-NMG
MOSSIMO GIANNULLI,

                Defendant.



      DECLARATION OF WILLIAM J. TRACH IN SUPPORT OF MOSSIMO
  GIANNULLI’S EMERGENCY MOTION TO MODIFY SENTENCE PURSUANT TO
                        18 U.S.C. § 3582(c)(1)



        I, William J. Trach, declare as follows:

        1.     I am a partner with Latham & Watkins LLP and counsel of record for Mossimo

Giannulli in the above-captioned matter. I make this declaration in support of Mr. Giannulli’s

motion for a modification of his sentence pursuant to 18 U.S.C. § 3582(c). This declaration is

based on my personal knowledge and, if called upon, I would testify to the facts set forth below

under penalty of perjury.

        2.     On November 19, 2020, Mr. Giannulli reported to USP Lompoc to serve the five-

month sentence ordered by the Court.

        3.     Mr. Giannulli has reported that upon his arrival at USP Lompoc, he was placed in

isolated quarantine in a small cell where he spent 24 hours a day, with narrow exceptions. For

example, Mr. Giannulli reported that he was allowed to leave his cell to shower once every three

days.

        4.     Mr. Giannulli has reported that he was not allowed outside, had only sporadic

access to a telephone to contact his family, and ate all of his meals alone in his cell.
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       5.         Mr. Giannulli reported that he was told by prison officials that he was being

placed in solitary quarantine to ensure that he was free of COVID-19 and, thus, would not spread

it by being transferred to the minimum security satellite camp at USP Lompoc.

       6.         Mr. Giannulli reported that after being placed in solitary quarantine on November

19, 2020, he had been tested for COVID-19 at least ten separate times, and that his test results

were negative every time.

       7.         Mr. Giannulli reported that after each negative COVID-19 test, he had been

returned to his cell, purportedly for another two-week period of solitary quarantine.

       8.         On January 11, 2021, I spoke with Karin Bell, Assistant United States Attorney,

who informed me that the reason for Mr. Giannulli’s almost two month stay in solitary

confinement is that other prisoners who have arrived at the Lompoc quarantine facility since he

reported have tested positive for COVID-19. She said that BOP has determined that any

individual in the facility must re-quarantine each time new prisoners arrive at the quarantine

facility, despite the fact that individuals are not in contact with one another, and instead are

confined to their cells 24 hours per day.

       9.         Mr. Giannulli reports that he was confined in solitary quarantine in his cell at USP

Lompoc until January 13, 2021, when he was transferred to the minimum security camp.

       10.        Attached hereto as Exhibit A is a true and correct copy of a document dated

March 26, 2020 titled “MEMORANDUM FOR DIRECTOR OF BUREAU PRISONS” from

“The Attorney General” with a subject line reading “Prioritization of Home Confinement As

Appropriate in Response to COVID-19 Pandemic,” downloaded from the Bureau of Prisons

website at https://www.bpo.gov/coronavirus/docs/bop_memo_home_confinement.pdf (last visited

Jan. 13, 2021).



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       11.        Attached hereto as Exhibit B is a true and correct copy of a document dated April

3, 2020 titled “MEMORANDUM FOR DIRECTOR OF BUREAU OF PRISONS” from “The

Attorney General” with a subject line reading “Increasing Use of Home Confinement at

Institutions Most Affected by COVID-19,” downloaded from the Bureau of Prisons website at

https://www.bpo.gov/coronavirus/docs/bop_memo_home_confinement_april3.pdf (last visited

Jan. 13, 2021).

       12.        Attached hereto as Exhibit C is a true and correct copy of a January 13, 2021

screenshot of the webpage located at https://www.bop.gov/coronavirus/faq.jsp.

       13.        Attached hereto as Exhibit D is a true and correct copy of a letter dated November

19, 2020, from Nathan F. Garrett of Graves Garrett LLC and addressed to the Warden at FCC

Lompoc and Mr. Ken Hyle (General Counsel, Western Regional Office, Federal Bureau of

Prisons).

       14.        I am not aware of, and have been advised by Mr. Garrett that he did not receive,

any response from the Warden or Mr. Hyle to the letter attached as Exhibit D.

       15.        Attached hereto as Exhibit E is a true and correct copy of a letter dated December

28, 2020, from me and addressed to the Warden at FCC Lompoc and Mr. Ken Hyle (General

Counsel, Western Regional Office, Federal Bureau of Prisons).

       16.        Attached hereto as Exhibit F is a true and correct copy of a letter dated January 7,

2021, from Patricia V. Bradley (Complex Warden) to me.

       17.        Attached hereto as Exhibit G is a true and correct copy of the transcript of Mr.

Giannulli’s sentencing hearing held on August 21, 2020.

       18.        Attached hereto as Exhibit H are true and correct copies of January 13, 2021

screenshots of webpages located at https://covid.cdc.gov/covid-data-tracker/#cases_totaldeaths.



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       19.      Attached hereto as Exhibit I are true and correct copies of January 13, 2021

screenshots of webpages located at https://www.bop.gov/coronavirus.


       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and that this Declaration was executed on January 14, 2021, in Boston,

Massachusetts.


                                                 /s/ William J. Trach
                                                 William J. Trach




                                 CERTIFICATE OF SERVICE

       I certify that the foregoing document, which was filed with the Court through the CM/ECF

system, will be sent electronically to all registered participants as identified on the Notice of

Electronic Filing and that paper copies will be sent to those identified as non-registered

participants.

                                                             /s/ William J. Trach
                                                             William J. Trach




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